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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

Aiping Wei,                         )
                                    )
                  Plaintiff,        )
                                    )
             v.                     )                Case No. 1:21-cv-582 (AJT/JFA)
                                    )
CEOs.com, et al.,                   )
                                    )
                  Defendants.       )
____________________________________)

                                             ORDER

       This matter is before the Court on the Report and Recommendation [Doc. No. 18]

(“Report”) of Magistrate Judge Anderson (the “Magistrate Judge”). In the Report, the

Magistrate Judge recommends that Plaintiff’s Motion for Default Judgment as to Defendants

CEOS.COM, CNOOC.COM, CNPC.COM, DENDRIMER.COM, PEOPLESDAILY.COM,

TAIYUAN.COM, and XUS.COM, [Doc. No. 13], (the “Motion”) be granted. The Magistrate

Judge further advised the parties that objections to the Report must be filed within fourteen (14)

days of service and that failure to object waives appellate review. [Doc. No. 18] at 12. No party

has filed an objection to the Report within fourteen (14) days of service. Having conducted a de

novo review of the record, the Court adopts and incorporates the findings and recommendations

of the Magistrate Judge. Accordingly, it is hereby

       ORDERED that the Report and Recommendation [Doc. No. 18] be, and the same hereby

is, ADOPTED; and it is further

       ORDERED that Plaintiff’s Motion for Default Judgment [Doc. No. 13] be, and the same

hereby is, GRANTED; and it is further
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       ORDERED Default Judgment be ENTERED in favor of Plaintiff and against

CEOS.COM pursuant to Count I of the Complaint alleging a violation of the Anti-

Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d)(1)(C); and it is further

       ORDERED that Default Judgment be ENTERED against each of the remaining

Defendant Domain Names pursuant to Count II in an action to quiet title; and it is further

       ORDERED that VeriSign, Inc., the registry for the Defendant Domain Names, change

the registrar of record for domain names CEOS.COM, CNOOC.COM, CNPC.COM,

DENDRIMER.COM, PEOPLESDAILY.COM, TAIYUAN.COM, and XUS.COM to

GoDaddy.com LLC, Plaintiff's choice of registrar, and that GoDaddy.com LLC register the

domain names in Plaintiff's name.; and it is further

       ORDERED that all remaining claims and defendants be, and the same hereby are,

DISMISSED without prejudice.

       The Clerk is directed to enter judgment in accordance with this Order pursuant to Federal

Rule of Civil Procedure 58, to forward a copy of this Order to all counsel of record.




Alexandria, Virginia
November 24, 2021




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